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              . BRUTO    N                         i]
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            IS T R IC T C
                        IN   RT UNITED STATES DISTRICT COURT FOR THE
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                                                 DIVISION
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                                           u.s. Dtslnic I
      TONGA HARPER,                                         i,:ti,r,ii
                                                            )
                                                                                         Qeoer
                                    Plaintiff,              )
                                                            )                                 ucr,- Peo
                     v.                                     )No.: 1:24-cv-01019
                                                            )
                                                                                      c+P33f;':::
      COMMONWEALTH EDISON, an Exelon                        )                                    -'aii:itcry
                                                                                                       _r,-L,.liI
      Company,                                              )
                                                            )
                                    Defendant.              )

                                        AMENDED COMPLAINT

             NOW COMES the Plaintiff, TONGA HARPER, Pro Se, complains against the Defendant

      COMMONWEALTH EDISON, an Exelon Company [hereinafter, ComEd] as follows:

      1. This is a civil rights complaint for discrimination and retaliation in violation of Title VII of
         the Civil Rights Act of 7964,42 U.S.C. $ 2000e1 et sgq. ("Title VII") and the Civil Rights

         Act of 1964, 42 U.S.C. $ 1981 ("Section 1981").

      2. This is an age discrimination complaint for age discrimination and retaliation in violation of
         The Age Discrimination in Employment Act of 1967.

                                      JURISDICTION AI\D VENUE

             Jurisdiction of this court is invoked pursuant to Title VIl, 42 U.S.C. $2000e-5 and. 42

             U.S.C. $12101 et seq. as well as 28 U.S.C. $$[337 and 1343.




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3.   Defendant further constitutes an "employer" based on its engagement in an industry

     affecting commerce and its employment of fifteen (15) or more employees for each

     workup day in each of twenty (20) or more calendar weeks in the current or preceding

     calendar year.

4.   Prior to filing this civil action, the named Plaintiff timely filed written charges under oath

     asserting employment discrimination with the Equal Employment Opporlunity

     Commission ("EEOC"). Plaintiff received a Notice of Right to Sue. A copy of the

     Notice of Right to Sue marked Exhibit "A" is attached hereto.

                         ADMINISTRATIVE PREREOUISITES

     5.     All conditions precedent to jurisdiction under $ 706 of Title YII, 42 U.S.C.

     $2000e-5, have occurred or been complied with.

     6.     Prior to filing this civil action, Plaintiff timely filed written charges under oath

     asserting discrimination and retaliation with the Equal Employment Opportunity

     Commission ("EEOC").

     7.     Plaintiff received a Notice of Right to Sue from the EEOC (attached hereto as

     Exhibit "A"), and Plaintiff filed this lawsuit within ninety (90) days of his receipt of the

     EEOC's Notice of Right to Sue.




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                                       THE PARTIES

    8.       Throughout the period pertinent to the allegations in this Complaint, and

    continuing to the present, Plaintiff has consistently resided in the City of Chicago, Cook

    County, Illinois.

    9.       Defendant, ComEd, an Exelon Company, is headquartered in Chicago and

    conducts substantial business operations within Cook County. Serving over four million

    customers across northern Illinois, ComEd provides essential utility services, including

    the distribution and transmission of electricity to residential, commercial, and industrial

    customers.

    10. During the relevant period giving rise to this cause of action, Plaintiff was
    employed by Defendant as an "employee" within the meaning of 42 U.S.C $2000e(0.

                                      ALLEGATIONS

    II   .   Plaintiff asserts claims of discrimination on the basis of race, color and age under

    TitleVll and42 U.S.C. $1981.


    12. Plaintiff assert claims of discrimination on the basis of age under The Age
    Discrimination in Employment Act of 1967.

    13. As a black individual, an African-American a female who is 52 years old,
    Plaintiff is a member of a legally protected class.

    14. The working conditions at ComEd are permeated with discrimination, ridicule,
    and insult, fundamentally altering the terms and conditions of Plaintiff s employment

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       and creating a hostile and abusive work enviroilment.

15. Plaintiff has been employed as a full-time Senior Electrical Engineer and Customer
       Project

       Engineer with Defendant March 24,2014 until the present.

16. Plaintiff has at all times performed her job duties as a Senior Electrical Engineer and
       Customer Project Engineer in a satisfactory manner since 2019.

17. All of Plaintiffls annual evaluations with the Defendant from 2019 until the present have
       been satisfactory.


18. Plaintiff was denied the same terms and conditions afforded to her co-workers who were
       similarly situated as herself including Eric Hirtzig [white] and Robert Wilk [white].

19. On October 31,2022, plaintiff applied for the L4 position of Smart Meter Manager under
       Sainab Taiwo Ninalowo. The interview went extremely well. A follow up email was sent

       to the hiring manager.

20. On or around January g,2023, Plaintiff was henied promotion to a managerial position,
       despite having qualifications that met or exceeded all posted requirements, which were

       granted to a less qualified male colleague. Plaintiff believes this decision was influenced

       by her race, color and gender.

21.    Sainab reached out to plaintiff s colleague Mark Castellanos I Hispanic Male] for a L4

       position even though plaintiff was a much better engineer than Mark Castellanos.




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22.   Sainab was one of the names to be investigated for unfair promotional practices in

      February 2023by ComEd's Ethics Office.

23.   Comed had the intent to discriminate against the Plaintiff by hiring a white male instead

      of hiring a more qualified African-American Black Female.

24.   ComEd has a pattem of unfair promotional practices through discrimination by not

      selecting qualified African American Black female candidates.

25.   ComEd has negatively affected the Plaintiff by intentionally not promoting her which has

      caused lack of wages, no visibility across working units and no advancement

      opportunities.

26.   Ln2022, plaintiff was passed over for promotion to Level 4 positions which were given to
      less qualified white male co-workers.


27    This incident took place in the New Business Large Projects (Department 03314).

28    Plaintiff is a 52 years' old African American female and the most qualified Electrical

      Engineer.

29.   Plaintiff was denied promotion to Level 4 Senior Manager of Department 003314 New
      Business Large Projects.

30.   lnstead, Eric Hirtzig (white male) who a less qualified Engineer who promoted of
      Plaintiff who was a more qualified African-American Black Female Engineer.

31.   In December 12,2022, on a Microsoft Teams call, Scott Dibasilio and Eric Hirtzig,

      plaintiffs direct managers, stated to plaintiff that she was not chosen for Level 4

      Principal


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      Project Manager position and that Robert Wilk was promoted to the Level 4 Principal

      Proj ect Manager position.


32.   Robert is a design tech with less years of experience in Dept. 003314 New Busrness
      Large Project than Plaintiff.

JJ.   Robert has a two-year associate degree from DeVry Institute while Plaintiff has a

      Bachelor of Science degree in Electrical Engineering from the University of tllinois at

      Chicago.

34.   In 2022, Plaintiff energized more projects than Robert. All of Plaintiffs department

      metrics and milestones were better than those of Robert including Stability, Adherence

      and Planning scores which are ComEd's Key Performance Indicators (KPI).


35.   Plaintiffhad only one project on the overspend report and zerojobs on the baseline report
      which is part of ComEd's Financial Key Performance (KPI).

36.   In addition, Plaintiffs L4 Senior Managemdnt assessment was performed in October
      2022.


37.   Robert did not take his L4 assessment until February 2023 which was after he was
      promoted to the position of Principal Project Manager of New Business Large Projects.

38.   Plaintiff asked Erica Love-White (Key Manger of New Business Large Projects), who

      was listed as the hiring managff of New Business Large Projects, why Plaintiff was not

      promoted to the position of Principal Project Manager of New Business Large Projects.

39.   Erica replied that Robert answered the interview questions better than Plaintiffls answers.

40.   Erica's response was pretextual because she never gave plaintiff any kind feedback on

      her performance at the interview.
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41.   On or around December 12, 2022, Plaintiff was denied promotion to a managerial

      position, despite having qualifications that met or exceeded all posted requirements,

      which were granted to a less qualified male colleague. Plaintiff believes this decision was

      influenced by her gender.

42.   The failure to promote Plaintiff has had a substantive impact onplaintiffs finance's and

      lack of creating advanced opportunities.

43.   Erica (Plaintiffs Key Manger) equally permitted a hostile work environment coupled

      with retaliatory practices to continue unabated with the following work groups:

      I.      The Network Highrise Group. Key Manager failed to support Plaintiffs effects

              to energize the Tootsie Roll Company when the Network Highrise Group failed

              to meet is commitment to construct its scope of work. Key Manager had the

              opportunity to initiate a condition report (CR) to address the issues but failed to

              do so. Failure to support Plaintiff (who operated within ComEd's Management

              Models) created a hostile work environment between the Network Highrise

              Group and Plaintiff.

      II.     Field and Metering Services. Key Manager failed to support the Plaintiff when

              Field and Metering Services failed to install customer's building meters which

              resulted in customer's electrical services being delayed for nearly a month. Key

              Manager failed to address the issues with Field and Metering Services and

              Plaintiff. Key Manager had the opportunity to call for a Condition Report to
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           capture all issues but failed to do so. Key Manager's failure to created a hostile

           work environment between Field and Metering Services and Plaintiff.

     m.    New Business CIPPA. CIPPA is the junior group to New Business Large

           Projects. The CIPPA group inherited a project that Plaintiff formerly managed.

           Customer of the project Plaintiff stating that the project was not tracking properly

           towards its completion. After a second call from the customer, Plaintiff

           investigated customer's complaint by speaking to current Project Manager about

           the project's progression. Plaintiff discovered that project was not properly was


           designed and involved a safety risk of a large outage for 200+ customers.

           Plaintiff cured design inefficiencies and resolved safety issues. L4 Manager of

           New Business CIPPA failed to take responsibility of the mismanagement of the

           project as the project was too advanced for current Project Manager. Key

           Manager Erica Love White failed to itrvestigate through a Condition Report (CR)



           or an ACE. Instead Key Manager admonished Plaintiff by stating, "You should

           not taken the project". As results a hostile environment was created between L4

           Senior Management Darryl Richardson and Plaintiff. Key Manager Erica Love-

           White failed to protect Plaintiff from a hostile work environment. Key Manager

           intentionally created a hostile working environment as a form of retaliation


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              against the Plaintiff.

44.   The culture at ComEd is historically laced with bullying, intimidation, racism, sexism

      and a code of silence tainted with retaliation if the employees do not comply with

      unethical practices and conduct.

45.   Key Manager Erica Love-White offered Department 03314 a retention bonus to stay as
      Customer Project Engineer. Jaclyn Travoto, SVP, Human Resource approved the
      unethical contract as it did not offer the retention bonus to the whole New Business Large
      Project organization.

46.   Erica asked plaintiff not to share any information about the offer because she did not

      offer it to every employee under her organization chart.

47.   Scott and Eric, Plaintiffs direct L4 managers, did not know about the retention bonus
      contract.

48.   Plaintiff elected not to sign the offer since she saw it as a tool unfair and unethical since it
      was not offered to the whole New Business organization.

49.   Plaintiff is the only African-American Black Female in Dept. 03314 New Business Large
      Projects.

50.   Key Manager refused to promote Plaintiff to Principal Project Manager as a form of
      retaliation for not signing unethical contract.

51.   Plaintiff filed an Ethical Complaint on January 16, 2023 .

52.   The Human Resources conducted interviews during the months of January and February

      2023.

53.   William Cameroon-Ethical Compliance Attorney and Michelle Terrell- Employee
      Relations Special conducted ethical interviews during the months of February and March
      2023.W11J,iam Cameron has since departed from ComEd.

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54.   On June 7,2023 while on PTO plaintiff went to the Chicago South Headquarters to login
      into a newly issued laptop. PlaintifPs work badge was deactived as a form of retaliation.

55.   L4 Senior Manger Scott Dibasilio was asked why Plaintiffs employee ID was
      deactivated. L4 Senior did not provide a valid reason. Employee was badge out of the

      office because she is an African-American Black female. ComEd's conduct was

      retaliatory in nature against the Plaintiff.

56.   The actions of Defendant as described above violate Title VII of the Civil Rights Act of

      1964, as amended, which prohibits discrimination in employment on the basis of race,

      color and gender. Consequently, due to the denial of promotion opportunities, Plaintiff has

      incurred financial losses from the lack of promotions, bonuses, and pay grade increases

57.   The action of the Defendant as described violate The Age Discrimination in Employment

      Act of 1967. Consequently, due to the denial of promotion opportunities, Plaintiff has

      incurred financial losses from the lack of promotions, bonuses, and pay grade increases




                                      COUNT I
              TITLE VII: DISCRIMINATION ON THE BASIS OF RACE

58.   Plaintiff repeats and re-alleges paragraphs 11-57 as if fully stated herein.

      59. By virtue of the conduct alleged herein, Defendant engaged in unlawful
      employment practices and discriminated against Plaintiff on the basis of her race,

      African-American, in violation of Title VII of the Civil Rights Act of 1964, as amended,

      42 U.S.C. $ 2000e, et seq.

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       60.        Plaintiff is a member of a protected class under Title VII of the Civil Rights Act

       of 1964, as amended, 42 U.S.C. $ 2000e, et seq., due to her race, African-American.

       61.        Throughout her employment, Plaintiff consistently performed her job in

       accordance with Defendant's legitimate business expectations.

62.    Plaintiff was denied equivalent terms and conditions provided to her similarly situated
white co-workers, Eric Hirtzig arid Robert Wilk.

       63. Defendant's aforementioned practices have resulted in depriving Plaintiff of
       equal employment opportunities and have adversely affected her employment status due

       to her race.

       Defendant acted in willful and wanton disregard of Plaintiff s protected rights.

       65.        As a direct and proximate result of Defendant's unlawful employment practices

       and race discrimination described above, Plaintiff has suffered humiliation, degradation,

       emotional distress, other consequential damages, and lost wages.

       Plaintiff, in all respects, was performing her job in a manner that was consistent with

       ComEd's legitimate business expectations.

       In 2022, plaintiff was passed twice over for promotion to Level 4 positions which were

       given to less qualified white male co-workers, Eric Hirtzig [white] and Robert Wilk

       [white].

       Robert has a two-year associate degree in Electronics with less years of experience than

       Plaintiff who has a Bachelor's of Science degree in Electrical Engineering (BSEE) and

       27 years of experience in Electrical Engineering.

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69.   Robert did not take his L4 Management assessment until February 2023 which was well

      after he was promoted while plaintiff s L4 assessment was performed inOctober 2022.

70.   Defendant claimed Robert was promoted because he answered the interview questions

      better than Plaintiff did.

71.   On or around March 2022 and December 12, 2022, Plaintiff was denied two promotions

      to a managerial position, despite having qualifications that met or exceeded all posted

      requirements, which were granted to a less qualified male colleague. Plaintiff believes

      this decision was influenced by her race.

72.   The actions of Defendant as described above violate Title VII of the Civil Rights Act of

      1964, as amended, which prohibits discrimination in employment on the basis of race.


73.   On February 16, 2024, Human Resource Rep, Jamarica Giles sent an email to the

      Plaintiff stating the Plaintiff was mandated to report to ComEd's training facility and that

      Plaintiff was under an official investigation.

74.   Plaintiff reported to ComEd's training facility as instructed by HR.

75.   HR rep Elizabeth Betsy informed that they would have to wait 45 minutes to an hour for

      Exelon's security team to attend the meeting.

76.   Plaintiff stated to HR that an hour would put meeting outside of Plaintiffs working

      hours.

77    Plaintiff left all company's devices and employee ID with HR rep Elizabeth Betsy.



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78.       Plaintiff has been out of the office since February t6,2024 with no access to ComEd's

          system.


79.       ComEd's investigation was used a form of relation and intimidation as HR wds aware of

          Plaintiff s numerous EEOC and ethical complaints.

80.       Plaintiff has numerous open complaints against ComEd's leadership that HR has failed to

          investigate or properly address.

         WHEREFORE, for the foregoing reasons, the Plaintiff, TONGA HARPER, respectfully

requests that this court provide the following equitable and monetary relief:


          a.        Enter judgment in favor of Plaintiff anfl against Defendant for violation of

          Plaintiff s Rights under Title VII of the Civil Acts of 1964 and Title VII of the Civil
          Rights Act of 1981.

               b. Declare that the actions of Defendant oonstituted unlawful discrimination;
               c. Award Plaintiff compensatory damages, including, but not limited to, lost wages
      and benefits, in such amount as will reasonably compensate her for her losses with applicable

      statutory interest;



               d. Award Plaintiff punitive damages in such amount as the Court deems proper;
               e. Award Plaintiff the costs of litigation including reasonable attorneys' fees and
      expert witness fees and non-table expenses, and

               f. Grant Plaintiff such other and further relief as the Court deems equitable and just.

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                                                         1

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                                             COUNT II
                   TITLE VII: DISCRIMINATION ON BASIS OF COLOR
81.    Plaintiff repeats and re-alleges paragraphs I 1-80 as if fully stated herein.

       82. By virtue of the conduct alleged herein, Defendant engaged in unlawful
       employment practices and discriminated against Plaintiff on the basis of her color, black,

       in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. $ 2000e,

       et seq.

       83.       Plaintiff is a member of a protected class under Title VII of the Civil Rights Act

       of 1964, as amended, 42 U.S.C. $ 2000e, et seq., due to her color, black.

       84.       Throughout her employment, Plaintiff consistently performed her job in

       accordance with Defendant's legitimate business expectations.

       85.       Plaintiff was denied equivalent terms and conditions provided to her similarly

       situated white co-workers, Eric Hirtzig and Robert Wilk.

       86.       Defendant's aforementioned practice$ have resulted in depriving Plaintiff of

       equal employment opportunities and have adversely affected her employment status due

       to her color.

87,    Defendant acted in willful and wanton disregard of Plaintiff s protected rights.
       88. As a direct and proximate result of Defendant's unlawful employment practices
       and race discrimination described above, Plaintiff has suffered humiliation, degradation,

       emotional distress, other consequential damages, and lost wages.

       WHEREFORE, for the foregoing reasons, the Plaintiff, TONGA HARPER, respectfully

requests that this court provide the following equitable and monetary relief:

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     a.        Enter judgment in favor of Plaintiff and against Defendant for violation of

               Plaintiff s Rights under Title VIL

               b.      Declare that the actions of Defendant constituted unlawful discrimination;

               c.      Award Plaintiff compensatory damages, including, but not limited to, lost

     wages and benefits, in such amount as will reasonably compensate her for her losses with

     applicable statutory interest;

               d.      Award Plaintiff punitive damages in such amount as the Court deems
     proper;

               e.      Award Plaintiff the costs of litigation including reasonable attorneys' fees

     and expert witness fees and non-table expenses, and

               f.      Grant Plaintiff such other and further relief as the Court deems equitable
     and just.


                                           COUNT III
                    TITLE VII: DISCRIMINATION ON THE BASIS OF SEX


     Plaintiff repeats and re-alleges paragraphs l1-88 as if fully stated herein.

     90. By virtue of the conduct alleged herein, Defendant engaged in unlawful
     employment practices and discriminated against Plaintiff on the basis of her sex, female,

     in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. $ 2000e,

     et seq.

     91.       Plaintiff is a member of a protected class under Title VII of the Civil Rights Act

     of 1964, as amended, 42 U.S.C. $ 2000e, et seq., due to her sex, female.

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        92. Throughout her employment, Plaintilf consistently performed her job in
       accordance with Defendant's legitimate business expectations.

       93.     Plaintiff was denied equivalent terms and conditions provided to her similarly

       situated male co-workers, Eric Hirtzig and Robert Wilk.

       94.     Defendant's aforementioned practices have resulted in depriving Plaintiff of

       equal employment opportunities and have adversely affected her employment status due

       to her sex.

95. Defendant acted in willful and wanton disregard of Plaintiff s protected rights.
       96. As a direct and proximate result of Defendant's unlawful employment practices
       and sex discrimination described above, Plaintiff has suffered humiliation, degradation,

       emotional distress, other consequential damages, and lost wages.

       WHEREFORE, for the foregoing reasons, the Plaintiff, TONGA HARPER, respectfully

requests that this court provide the following equitable and monetary relief:


               a.         Enter judgment in favor of Plaintiff and against Defendant for violation of
       Plaintiff s

Rights under Title VII.

               b.         Declare that the actions of Defendant constituted unlawful discrimination;

               c.      Award Plaintiff compensatory damages, including, but not limited to, lost

       wages and benefits, in such amount as will reasonably compensate her for her losses with

       applicable statutory interest;



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                 d.    Award Plaintiff punitive damages in such amount as the Court deems
       proper;

                 e.    Award Plaintiff the costs of litigation including reasonable attorneys' fees

       and expert witness fees and non-table expenses, and


                 f.    Grant Plaintiff such other and further relief as the Court deems equitable
       and just.


                                           COUNT TV
                          RACE DISCRIMINATION UNDER 8198I


97. Plaintiff repeats and re-alleges paragraphs 1l-96 as if fully stated herein.
       98. By virtue of the conduct alleged herein, Defendant engaged in unlawful
       employment practices and discriminated against Plaintiff on the basis of her race,

       African-American, in violation of the Civil Rights Act of 1866,42 U.S.C. $1981.

99. Plaintiff is a member of a protected class under the Civil Rights Act of 1866, 42 U.S.C.
        $ 1981 due to her race, African-American.


       100. Throughout her emploSrment, Plaintiff consistently performed her job in
       accordance with Defendant's legitimate business expectations.

       l0l.      Defendant engaged in discrimination against Plaintiff as detailed above,

       including but not limited to subjecting her to harassment, disproportionately

       reprimanded compared to her white colleagues and creating a hostile work environment

       when her managers failed to promote or recommend for hire outside the department as a

       retaliatory measure designed to impede her professional advancement and preclude her


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       from applying for other positions within the company.

I02. Defendant also retaliated against Plaintiff as detailed above.
103. Defendant acted in willful and wanton disregard of Plaintiffls protected rights.
104. Defendant's actions were done intentionally.
       105. Defendant's treatment of Plaintiff deprived her of the full and equal protection of
       the laws for the security of persons and property, "as enjoyed by white citizens", in

       violation of 42 U.S.C. $1981.


       106. As a direct and proximate result of Defendant's unlawful employment practices
       and race discrimination described above, Plaintiff has suffered humiliation, degradation,

       emotional distress, other consequential damages, and lost wages.

       WHEREFORE, for the foregoing reasons, the Plaintiff, TONGA HARPER, respectfully

requests that this court provide the following equitable and monetary relief:


                 a.    Enter judgment in favor of Plaintiff and against Defendant for violation of
       Plaintiff s

Rights under Title VII.

                 b.    Declare that the actions of Defendant constituted unlawful discrimination;

                 c.    Award Plaintiff compensatory damages, including, but not limited to, lost

       wages and benefits, in such amount as will reasonably compensate her for her losses with

       applicable statutory interest;

                 d.    Award Plaintiff punitive damages in such amount as the Court deems
       proper;
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                  e.      Award Plaintiff the costs of litigation including reasonable attomeys' fees

          and expert witness fees and non-table expenses, and



                  f.      Grant Plaintiff such other and further relief as the Court deems equitable
          and just.


                            COUNT V
 AGE DISCRIMINATION UNDER THE AGE DtrSCRIMINATION IN EMPLOYMENT
                           ACT OF 1967


107   .   Plaintiff repeats and re-alleges paragraphs I I - I 06 as if fully stated herein.

          108. Throughout her employment, Plaintiff consistently performed her job in
          accordance with Defendant's legitimate business expectations.

          109. Defendant engaged in discrimination and retaliation against Plaintiff on the basis
          of her age, including but not limited to subjecting her to harassment, disproportionately

          reprimanded compared to her younger white colleagues and creating a hostile work

          environment when her managers failed to protect her against male coworkers bullying

          and intimidation her as a retaliatory measure designed to impede her professional

          advancement and preclude her from applying for other positions within the company.

          I10. As a direct and proximate result of Defendant's unlawful employment practices
          and age discrimination described above, Plaintiff has suffered humiliation, degradation,

          emotional distress, other consequential damages, and lost wages.




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                              COUNT VI
       RETALIATION ON THE BASIS OF RACE. COLOR. GENDER AND AGE


I11.   Plaintiff repeats and re-alleges paragraphs 11-110 as if fully stated herein.

       ll2.     Throughout her employment, Plaintiff consistently performed her job in

       accordance with Defendant's legitimate business expectations.

       113. Defendant engaged in discrimination and retaliation against Plaintiff on the basis
       of her race, gender, color and age, including but not limited to subjecting her to
       harassment, disproportionately reprimanded compared to her white colleagues and

       creating a hostile work environment when her managers failed to protect her against

       younger white male coworkers as a retaliatory measure designed to impede her

       professional advancement and preclude her from applying for other positions within the

       company.

       114. As a direct and proximate result of Defendant's unlawful employment practices
       and race, gender color and age discrimination described above, Plaintiff has suffered

       humiliation, degradation, emotional distress, other consequential damages, and lost

       wages.




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115. On February 16,2024, Human Resource Rep, Jamarica Giles sent an email to the
        Plaintiff stating the Plaintiff was mandated to report to ComEd's training facility and that

        Plaintiff was under an official investigation.

I 16.   Plaintiff reported to ComEd's haining facility as instructed by HR.

t17.    HR rep Elizabeth Betsy informed that they would have to wait 45 minutes to an hour for

        Exelon's security team to attend the meeting.

118. Plaintiff stated to HR that an hour would put meeting outside of Plaintiffs working
        hours.


119.    Plaintiff left all company's devices and employee ID with HR rep Elizabeth Betsy.

120.    Plaintiff has been out of the office since February 16,2024with no access to ComEd's

        system.


tzt.    ComEd's investigation was used a form of relation and intimidation as HR was aware of

        Plaintiff s numerous EEOC and ethical complaints.

t22.    Plaintiff has numerous open complaints against ComEd's leadership that HR has failed to

        investigate or properly address.

123. The Plaintiff adopts and incorporates by reference the allegations contained in paragraphs
        9-L22 of the Complaint.

124. Plaintiff, in all respects, was performing her job in a manner that was consistent with
        ComEd's legitimate business expectations.



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125. ComEd discriminated against Plaintiff as described above, including but not limited to
          harassing her, subjecting her to a hostile work environment and denying her promotions.

126. On or around February 16, 2024, Plaintiff was retaliated against through the threat of
          termination. Plaintiff believes this decision was influenced by her race, color and gender

          as none of the white males in Dept. 03314 experience the same treatment as Plaintiff.


127   .   The actions of Defendant as described above violate Title VII of the Civil Rights Act of

          1964, as amended, which prohibits discrimination in employment on the basis of race,

          color and gender.

128. As a direct and proximate result of said unlawful employment practices and in disregard
          of Plaintiffs rights and sensibilities, Plaintiff has suffered humiliation, degradation,

          emotional distress, other consequential damages, and lost wages.

          WHEREFORE, for the foregoing reasons, the Plaintifl TONGA HARPER, respectfully

requests that this court provide the following equitable and monetary relief:


              a. Enter judgment in favor of Plaintiff and against Defendant for violation of
      Plaintiff s

Rights under Title VII.

              b. Declare that the actions of Defendant constituted unlawful discrimination;
              c. Award Plaintiff compensatory damages, including, but not limited to, lost wages
      and benefits, in such amount as will reasonably compensate her for her losses with applicable

      statutory interest;


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           d. Award Plaintiff punitive damages in such amount as the Court deems proper;
           e. Award Plaintiff the costs of litigation including reasonable attorneys' fees and
   expert witness fees and non-table expenses, and

           f. Grant Plaintiff such other and further relief as the Court deems equitable and just.
                             COUNT VII
          WRONGFUL TERMINAION OF EMPLOYMENT AS RETALIATION

Plaintiff repeats and re-alleges paragraphs 11-128 as if fully stated herein.

        129. Plaintiff was approved for and on medical leave for a qualifying health condition.
        130. ComEd's Office of Health Services manipulated Plaintiff s approval for time off
        so that HR could layoff/terminate Plaintiff.


        l3l.  Defendant terminated Plaintiffs employment on August 13, 2024, during her
        LTD leave, in direct violation of her rights under the Federal Laws.

        132. The termination was conducted without any investigation, adequate notice, or just
        cause, further exacerbating the discriminatory and retaliatory environment in which
        Plaintiff had been employed.

        133. Plaintiff seeks damages for lost wages, benefits, emotional distress, and other
        relief as deemed appropriate by this Court.




                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, TONGA HARPER, respectfully requests that this Court:

 A.      Enter judgment in favor of Plaintiff and against Defendant for violation of Plaintiff s

         rights under Title VII and Section 1981; The Age Discrimination in Employment Act

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      of 1967

B.    Declare that the actions of Defendant constituted unlawful discrimination;
C.    Grant a perrnanent injunction enjoining Commonwealth Edison Company, its officers,

      successors, assigns and all persons in active concert or participation with it, from

      engaging in any employment practice which discriminates against the Plaintiff on the

      basis of race and color under Title VII and the Age Discrimination in Employment Act

      of 1967;

D.    Award Plaintiff compensatory damages, including, but not limited to, lost wages

      and benefits, in such manner as will reasonably compensate her for her losses;

E.    Award Plaintiff compensation for past and future non-pecuniary losses,
      including emotional pain, suffering, inconvenience, loss of enjoyment of life and

      humiliation;

F.    Award Plaintiff punitive damages for Defendant's malicious and/or reckless conduct in

      an amount to be determined at trial;

G.    Reinstate Plaintiff to her previous position or a comparable role with twice the salary for
      wrongful termination accordingly to Illinois statues on wrongful termination.



H.    Award Plaintiff back pay, front pay, and lost benefits.




      Award compensatory and punitive damages for emotional distress and discrimination.




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 J.      Demotions and Termination for all employees who had a direct involvement in
         Plaintiff s litigation allegations.



 K.      Policy changes to protect future employees from experiencing Plaintiff s allegations as
         list in this complaint.



 L.      Award any other relief this Court deems just and equitable.


 M.      Award Plaintiff her costs, attorney's fees, and non-taxable expenses in this action, and

            Grant such further relief as the Court deems equitable and just.




                              DEMAND FOR A TRIAL BY JURY

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury in this action.

                                                      Respectfully submitted,

                                                      TONGA HARPER


                                                      By:          Tonsa Hamer
                                                                  Pro Se




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Dated: OCTOBER 21,2024
                                                      Tonga Harper
                                                      3650 West 87e Street
                                                      Chicago,Illinois6065 2
                                                       tharperl 97 I @gmail.com
                                                      (773) 937-847s (Alt phone)




                               CERTIFICATE OF SERVICE

       I, Tonga Harper, pro se, certify that on October 21,2024I caused the foregoing to be

served on Plaintiff via email and U.S. postal mail to:

                                                  BARACK, FERRAZZANO, KIRSCHBAUM
                                                  & NAGELBERG
                                                  AllisonN. Powers
                                                  Corwin J. Carr
                                                  Audrey Springer-Wilson
                                                  200 West Madison Street, Suite 3900
                                                  Chicago, IL 60606
                                                  312-984-3100
                                                  al Iison.powers(0b fkn. coni
                                                  c o nn' i n. o   arr(0),bjkngSm
                                                  audrey. sprin ger-rvilson(il)trlkn. conr



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